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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                )
    In re:                                                      )   Chapter 11
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        )   Case No. 19-34054-sgj11
                                                                )
                                    Reorganized Debtor.         )
                                                                )

                            STIPULATION AMENDING RESPONSE DATE



1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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        This stipulation (the “Stipulation”) is made and entered into by and between Highland

Capital Management, L.P., the reorganized debtor in the above-captioned proceeding

(“Highland”), and Todd Travers (“Claimant,” and together with Highland, the “Parties”), by and

through their respective undersigned counsel.

                                           RECITALS

        WHEREAS, On October 16, 2019 (the “Petition Date”), Highland commenced a voluntary

case under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court for the District of Delaware. On December 4, 2019, the Delaware Court

entered an order transferring venue of Highland’s bankruptcy case to this Court [Docket No. 186].

        WHEREAS, on May 11, 2020, Claimant filed Proof of Claim No. 180 (“Claim 180”).

        WHEREAS, on December 18, 2020, Claimant filed Proof of Claim No. 202 (“Claim 202,”

and together with Claim 180, the “Claims”), which superseded and replaced Claim 180 in its

entirety.

        WHEREAS, on June 10, 2022, Claimant filed his Motion to Confirm Timeliness of Filed

Claim, or Alternatively, to Allow Late-Filed Proof of Claim Filed by Todd Travers [Docket No.

3360] (the “Motion”).

        WHEREAS, the Motion was filed on negative notice and all responses to the Motion are

required to be filed on or before July 5, 2022 (the “Response Date”).

        WHEREAS, the Parties are discussing a potential resolution of the Claims and, to avoid

the cost and expense of briefing the Motion, have agreed to extend the Response Date to 5:00 p.m.

Central Time on August 1, 2022.

        NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

Stipulation by the Court, it shall be SO ORDERED:

        1.       The Response Date will be extended to 5:00 p.m. Central Time on August 1, 2022.

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        2.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of this Stipulation.

                              [Remainder of Page Intentionally Blank]




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Dated: June 13, 2022

 PACHULSKI STANG ZIEHL & JONES LLP                   SPENCER FANE LLP

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